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                            UNITED STATES DISTRICT COURT, DISTRICT OF CONNECTICUT
                                     CIVIL JURY/BENCH TRIAL MINUTES
     3/11/2025
Date ________________________________                                        3:20-cv-1790 VAB
                                                       Case #_______________________________________________
                                                                        Victor A. Bolden
                                                       Honorable Judge ______________________________________
                  Birch
______________________________________                              Tatihana Murphy
                                                       Deputy Clerk _________________________________________
                     Vs.                                                  Isidoridy, Lieb, & Lebowitz,
                                                       Counsel for Pla(s) _____________________________________
           New Milford et al
______________________________________                                    McDonald, Spector & Noirot
                                                       Counsel for Dft(s) _____________________________________
          8:58AM
Start Time__________          2:58PM
                     End Time ____________                                      Heather Ireland
                                                       Reporter/ECRO/Courtsmart _____________________________
Recess (if more than ½ hr) ________   1:03PM
                           12:00PM to _________        Interpreter______________________ Language ____________
           4
Total Time ________hour(s) 57
                           ________minute(s)


JURY TRIAL
‫ ܆‬Jury trial begun
            8
‫ ܆‬Jury of _____   reported. ‫ ܆‬Jury sworn ‫ ܆‬Jury remains under oath
‫ ܆‬Juror # _____ excused
                                                03/12/25
‫ ܆‬Jury trial held ‫ ܆‬Jury trial continued until ______________        9:00AM
                                                                  at __________
‫ ܆‬Plaintiff(s) rests ‫ ܆‬Defendant(s) rests
‫ ܆‬Summations held ‫ ܆‬Court’s charge to the jury
‫ ܆‬All full exhibits ‫ ܆‬Verdict form ‫ ܆‬Interrogatories given to jury
‫ ܆‬Jury commences deliberations on ____________ at _________
‫ ܆‬Court ORDERS jury to be fed at government expense; bill w/copy of jury sign-in sheet to Finance Dept.
‫ ܆‬Copy of minutes and jury sign-in sheet given to Jury Clerk

BENCH TRIAL
‫ ܆‬Bench trial begun
‫ ܆‬Bench trial held ‫ ܆‬Bench trial continued until ___________ at __________
‫ ܆‬Plaintiff (s) rests ‫ ܆‬Defendant(s) rests
‫ ܆‬Bench trial concluded ‫ ܆‬DECISION RESERVED

MOTIONS
‫ ܆‬Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ taken under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement
տ ORAL Motion _________________________________filed by տ Pla ‫܆‬Dft ‫ ܆‬granted տ denied տ under advisement



‫ ܆‬See page 2 for Notes and/or Verdict



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                                                      VERDICT
‫ ܆‬Court declares a MISTRIAL
‫ ܆‬Verdict form filed
‫ ܆‬VERDICT:




‫ ܆‬Court accepts verdict and orders verdict verified and recorded
‫ ܆‬Jury polled

                                                       NOTES




                                                                                        Rev. 4/11/24
